         Case 1:11-bk-16309         Doc 24 Filed 01/13/12 Entered 01/13/12 09:43:46                       Desc
                                  Ntc/Financial Mgmt. Course Page 1 of 1
Form a0nfincs

                                          United States Bankruptcy Court
                                             Southern District of Ohio
                                          221 East Fourth Street, Suite 800
                                            Cincinnati, OH 45202−4133


In Re: Henry Eugene Bailey                                  Case No.: 1:11−bk−16309

                Debtor(s)                                   Chapter: 13
SSN/TAX ID:
     xxx−xx−1320                                            Judge: Burton Perlman




                       NOTICE OF FAILURE TO FILE RULE 1007(b)(7) STATEMENT


    In accordance with Rule 5009 of the Federal Rules of Bankruptcy Procedure, the Clerk hereby provides notice
that pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, a statement regarding completion of a
course in financial management (Official Form 23) is required before an Order of Discharge can be issued. If a
statement regarding the completion of a course in financial management is not filed by the date when the last plan
payment was made or the filing of a motion for a discharge, the above captioned case may be closed without the
issuance of a discharge. If the debtor(s) subsequently files a Motion to Reopen the Case to allow for the filing of the
Official Form 23, the debtor(s) must pay the full reopening fee due for filing the motion.




Dated: January 13, 2012

                                                            FOR THE COURT:
                                                            Kenneth Jordan
                                                            Clerk, U.S. Bankruptcy Court
